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                                   STATEMENT OF FACTS

        Your affiant, Elizabeth KilCommons, is a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) and has been so employed since 2009. I am currently assigned to the FBI
Washington Field Office (“WFO”) in Washington, D.C. Currently, I am a tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there. One such individual was GLEN MITCHELL SIMON (hereafter
SIMON).

        On January 7, 2021, the FBI received a tip from Witness 1 (hereafter “W1”) indicating that
SIMON participated in the riots, as fully described in the preceding paragraphs, at the United States
Capitol on January 6, 2021. W1 reported that he/she saw posts on SIMON's Facebook account that
included a photograph(s) and video showing SIMON inside the United States Capitol building.
According to W1, one video showed SIMON in the halls of the U.S. Capitol saying, "We weren't
invited, we broke in here." Additionally, W1 reported that one photograph he/she saw posted to
SIMON’s Facebook account showed SIMON standing in front of the U.S. Capitol building. W1
said that these posts had been deleted from SIMON's Facebook account. W1 did not capture or
preserve the content of the video and photograph(s) that W1 saw on SIMON’s Facebook account.

        On January 6, 2021, the FBI received another tip from a different individual (hereafter
W2), also indicating that SIMON had posted photographs and a video to his Facebook account,
which appeared to show that SIMON inside the Capitol building. W2 included a screenshot of the
Facebook        post       from       SIMON’s           Facebook       account      (username
http://www.facebook.com/omega.tree.96), which has since been deleted. According to W2, he/she
recognized SIMON because he/she went to the same school that SIMON once attended, and W2
identified SIMON as the individual depicted in the following photograph:
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W2 also informed law enforcement that he/she saw a video posted to SIMON’s Facebook account,
which appeared to have been filmed by SIMON, and which shows SIMON inside the U.S. Capitol
Building. This video has also been deleted from SIMON’s Facebook account.

       Both W1 and W2 reported that SIMON recently moved, and that he may be living in either
Georgia or Maine. W1 further reported that SIMON owned a tree removal business named “Omega
Tree Removal.” Your affiant has reviewed the portions of SIMON’s Facebook account that are
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publicly available. Information on this account indicates that SIMON lives in Jefferson, Georgia
and works at Omega Tree Service.

        A search of publicly available databases revealed that SIMON’s address was based out of
Jefferson, Georgia. Furthermore, your affiant was able to lawfully obtain a picture of SIMON that
is from his Georgia Driver’s License. The individual depicted in the picture on the Georgia
Driver’s License appears to be the same individual depicted in the above-mentioned picture taken
on the steps of the U.S. Capitol.

         On January 14, 2021, FBI Agents from the Atlanta Field Office attempted to locate SIMON
at his last known addresses in Georgia. When they were unable to locate him, the Agents contacted
SIMON via telephone. During the conversation, SIMON asked if the Agents were contacting him
about being at the Capitol on January 6, 2021. When asked, Simon confirmed that he used the
Facebook account “Mitch Simon.” SIMON admitted that he was the individual standing on the
steps of the United States Capitol in the image included above, with his arm around a person
wearing a rubber mask in the shape of an eagle’s head. SIMON denied entering the Capitol
building and claimed it took him hours to reach the Capitol steps, where the picture was taken.
SIMON denied taking any photographs or video in Washington, D.C. on January 6, 2021.

        Members of the FBI provided the image posted on SIMON’s Facebook account to the U.S.
Capitol Police/Threat Assessment Section (USCP/TAS), in an effort to compare this image of
SIMON to surveillance video captured inside the U.S. Capitol on January 6, 2021. Your affiant
was informed by USCP/TAS Agents that the image posted to Facebook, described and depicted
above, shows the individual believed to be SIMON standing on the East Front Steps of the United
States Capitol Building. USCP/TAS Agents then located video surveillance footage depicting an
individual, believed to be SIMON, entering the Capitol Building through a door on the West Front,
Senate side of the building at 2:14 p.m. on January 6, 2021. Once inside the Capitol, video
surveillance footage shows SIMON walking toward the Crypt. Additional footage shows SIMON
inside the Statuary Hall at 2:36 p.m., and inside the Rotunda at 2:56 p.m. Below are screenshots
from surveillance videos that appear to depict SIMON unlawfully inside the United States Capitol
on January 6, 2021. In the screenshots below, SIMON is identified by the arrow. He is seen
wearing a white and blue baseball hat, a dark green sweatshirt, an olive green tactical vest, tan
gloves, jeans, and boots, consistent with what he was wearing in the above photograph.
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       Based on the foregoing, your affiant submits that there is probable cause to believe that
SIMON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
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building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that SIMON violated 40 U.S.C.
§ 5104(e)(2)(D), which makes it a crime to utter loud, threatening, or abusive language, or engage
in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; and (G), which makes it a crime to
parade, demonstrate, or picket in any of the Capitol Buildings.

                                                      Respectfully submitted,



                                                      _________________________________
                                                      Elizabeth KilCommons,
                                                      Special Agent
                                                      FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of April 2021.

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                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
